
Appeal No. 9315609 from Judgment dated July 13, 1994, Eugene M. Bogen, Ruling Judge, Sunflower County Circuit Court.
Dana J. Swan, Ralph E. Chapman, Chapman Lewis &amp; Swan, Clarksdale, for Appellant.
S. David Norquist, Jacks Adams &amp; Wes-terfield, Cleveland, for Appellees.
Before THOMAS, P.J., and COLEMAN and McMILLIN, JJ.
Reversed and Remanded.
FRAISER, C.J., BRIDGES, P.J., and BARBER, DIAZ, KING, PAYNE and SOUTHWICK, JJ., concur.
